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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
J. ALEX HALDERMAN,
Plaintiff,
Case No.
Vv.
Judge:

HERRING NETWORKS, INC., D/B/A | Mag. Judge:
ONE AMERICA NEWS NETWORK,
CHARLES HERRING, ROBERT
HERRING, SR., and CHANEL RION,

Defendants.

PLAINTIFF’S MOTION TO QUASH OR MODIFY NON-PARTY
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION OR
IN THE ALTERNATIVE FOR PROTECTIVE ORDER AND BRIEF IN
SUPPORT

Pursuant to Federal Rules of Civil Procedure 26 and 45 and Local Rules 7.1
and 7.2, Plaintiff J. Alex Halderman, Ph.D., a resident of Washtenaw County,
Michigan and a leading expert in cybersecurity of election systems, through his
undersigned counsel, respectfully moves this Court to quash a subpoena.
Specifically, Dr. Halderman requests this Court quash the subpoena seeking his

deposition as unduly burdensome and as an improper attempt to disclose an
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unretained expert’s opinion or information that does not describe specific
occurrences in dispute and results from the expert’s study that was not requested by
a party. Dr. Halderman has not been retained as an expert witness in this lawsuit,
and declines to be retained. Defendants are seeking free expert testimony without
Dr. Halderman’s consent. Dr. Halderman also requests an order awarding him the
reasonable expenses he incurred in making this motion.

In the alternative, Dr. Halderman respectfully requests that the Court modify
the subpoena by or issue a protective order (1) prohibiting Defendant Herring
Networks, Inc., d/b/a One America News Network, Charles Herring, Robert Herring,
Sr., and Chanel Rion (“OAN”), or any other defendant in matters consolidated or
coordinated for discovery with US Dominion, Inc. v. Herring Networks, Inc., No.
1:21-cv-02130 (CJN) (D.D.C.) from asking any questions related to Dr.
Halderman’s work as a retained expert in other litigation matters that is restricted
from disclosure by protective orders entered in those matters; (2) requiring the
parties to submit any dispute over whether questions or material falls within a
protective or confidentiality order, such as those issued in Curling v. Raffensperger,
No. 1:17-cv-2989-AT (N.D. Ga.) to the issuing court for resolution; (3) prohibiting
Defendant Byrne, his agents, or his retained counsel, including recently disqualified
counsel, from attending or obtaining any transcript of or exhibits admitted in such

deposition in perpetuity; (4) providing for reasonable compensation, including at his
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prevailing expert rate of $950.00 per hour for time Dr. Halderman spends to prepare
and testify and a significant portion of the costs of his prior expert work product of
apparent interest to OAN; and (5) scheduling any deposition to occur not fewer than
21 days from the entry of the Court’s order.

Respectfully Submitted,

DEMOREST LAW FIRM, PLLC

By:_/s/ Mark S. Demorest
Mark S. Demorest (P35912)
Attorneys for Respondent
322 W. Lincoln Ave.
Royal Oak MI 48067
(248) 723-5500

Dated: September 10, 2024 mark@demolaw.com

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LOCAL RULE 7.1 CERTIFICATION

The undersigned certifies that Dr. Halderman has complied with the
requirements of Federal Rule of Civil Procedure 37(a)(1) by seeking in good faith
to confer with Defendants to resolve the dispute between the parties concerning the
non-party subpoena to testify at a deposition in a civil action.

Specifically, counsel for Dr. Halderman has conferred with counsel for OAN
on May 2, May 13, September 3, and September 5 by telephone and/or
videoconference about subpoenas OAN has issued in this case, in addition to several
written exchanges with OAN counsel, reasonably explaining inter alia the basis for
this motion in an attempt to reach agreement on the withdrawal of the non-party
subpoena rather than to seek court intervention. Dr. Halderman produced many
documents in good faith attempts to respond to a prior documents subpoena served
on him, seeking to reach a compromise in providing OAN with information it seeks
without subjecting Dr. Halderman to the jeopardy of a deposition described herein.

As of the filing of this motion, OAN has not concurred in the relief Plaintiff
seeks, requiring the filing of this Motion to protect Dr. Halderman’s interests. The

undersigned has remained abreast of good faith negotiations since they began.
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The undersigned further certifies that the foregoing document meets the

typeface and formatting requirements of LR 5.1.
Respectfully Submitted,
DEMOREST LAW FIRM, PLLC

By:_/s/ Mark S. Demorest
Mark S. Demorest (P35912)
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Dated: September 10, 2024 mark(@demolaw.com

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
J. ALEX HALDERMAN,
Plaintiff,
Case No.
V.
Judge:

HERRING NETWORKS, INC., D/B/A | Mag. Judge:
ONE AMERICA NEWS NETWORK,
CHARLES HERRING, ROBERT
HERRING, SR., and CHANEL RION,

Defendants.

BRIEF IN SUPPORT OF
PLAINTIFF’S MOTION TO QUASH OR MODIFY NON-PARTY
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION OR
IN THE ALTERNATIVE FOR PROTECTIVE ORDER AND BRIEF IN
SUPPORT

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INTRODUCTION

Defendants Herring Networks, Inc., d/b/a One America News Network,
Charles Herring, Robert Herring, Sr., and Chanel Rion (““OAN”) seek to force
Plaintiff Dr. J. Alex Halderman, a resident of Washtenaw County, Michigan and a
leading expert in cybersecurity of election systems, to testify at a deposition in Ann
Arbor, Michigan (within the jurisdiction of this Court) on September 25, 2024 in a
defamation action bearing the caption US Dominion, Inc. v. Herring Networks, Inc.,
Civ. Act. No. 1:21-cv-02131 (CJN) (D.D.C.) (the “Defamation Matter”). See Notice
of Oral Deposition of Alex Halderman and Subpoena to Testify at a Deposition in a
Civil Action (dated July 24, 2024) (Exhibit 1-A to Declaration of Mark S. Demorest,
attached as Exhibit 1) (the “Subpoena”); Amended Notice of Oral Deposition of
Alex Halderman and Subpoena to Testify at a Deposition in a Civil Action (dated
August 14, 2024) (Exhibit 1-B to Demorest Decl.) (the “Amended Subpoena”).

But: Dr. Halderman is neither a party, nor an expert retained by a party, nor a
witness with personal knowledge of specific occurrences in dispute in the
Defamation Matter. Declaration of J. Alex Halderman (attached as Exhibit 2)
(“Halderman Decl.”), {{] 3-4, 6-8. OAN seeks Dr. Halderman’s expert testimony, to
be used in at least four cases consolidated or coordinated for discovery in the District
Court for the District of Columbia, by September 30. See Exhibit 1-A at 1-2;

Exhibit 1-B at 1-2; Exhibit 1-C (Corr. of A. Sparks and J. Edwards regarding
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Subpoena and Amended Subpoena) at July 25, 2024 9:13 PM (“Discovery is
consolidated in all the captioned cases, and one depo is considered taken in all of
them.”).!

This Motion seeks to quash the Amended Subpoena, first, because it subjects
Dr. Halderman to undue burdens, see Fed. R. Civ. P. 45(d)(3)(A)(iv), and second,
because it would necessarily compel Dr. Halderman to testify as an expert without
his consent, despite not being retained by any party and having no personal
knowledge of or connection to the parties or specific occurrences in dispute in the
Defamation Matter, see Fed. R. Civ. P. 45(d)(3)(B)(ii).? Should the Court not quash
the Amended Subpoena, the Court should modify it to protect Dr. Halderman’s
interests in not violating potentially conflicting court order;, to protect adequately

the highly sensitive nature of his knowledge and expertise in a contentious election

' The other cases are US Dominion, Inc. v. Powell, No. 1:21-cv-00040 (D.D.C.), US
Dominion, Inc. vy. My Pillow, Inc., No. 1:21-cv-00445 (D.D.C.), US Dominion, Inc.
v. Byrne, No. 1:21-cv-02131 (D.D.C.), and the now-stayed case US Dominion, Inc.
v. Giuliani, No. 1:21-cv-00213 (D.D.C.), hereafter collectively referred to as the
“Consolidated Defamation Matters.”

* Given the course of correspondence between counsel, Dr. Halderman considers the
original Subpoena (Exhibit 1-A) withdrawn with the service of the Amended
Subpoena. To the extent any party or this Court considers the Subpoena directing
Dr. Halderman to sit for a deposition on September 26, when he is fulfilling his
instructional duties at the University of Michigan, he seeks to quash that Subpoena
outright as well for this reason in addition to those contained herein.

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environment; and to reasonably compensate him for his time and attention as an
expert witness, as well as his work product as an expert retained by others.

Though disclaiming any intention to ask about Dr. Halderman’s expert
opinion, OAN has repeatedly affirmed in intention to focus on the data, techniques,
and conclusions in the very expert reports that place Dr. Halderman at risk of
violating court orders should he testify about them. This includes, but is not limited
to, expert work performed and opinions formed for the Curling v. Raffensperger,
No. 1:17-cv-2989-AT (N.D. Ga) matter (“Curling”), some of which remains under
seal or otherwise required not to be disclosed outside of the litigation to this day.
While Judge Totenberg, U.S.D.C. N. Ga., Atlanta Div., authorized the public release
of a redacted version of Dr. Halderman’ expert report last summer June, material
portions of his work and his opinions remain under seal. Halderman Decl., 7 9-11.
This is important because Dr. Halderman is a world-renowned expert and researcher
focusing on computer security and privacy, with an emphasis on election
cybersecurity. /d., §] 1-2. He has been retained as an expert witness in these fields

in multiple lawsuits, conducting research and providing helpful information to

3 OAN has affirmed its intent to avoid asking questions requiring the revelation of
privileged information, source code in Dominion software or in software developed
and secured by Dr. Halderman, or information OAN think may be subject to
protective order. In the event of any disagreement over whether particular lines of
questions at a deposition strayed beyond such a stipulation, however, any such
commitment or even an agreement would not supersede Dr. Halderman’s obligations
to the orders of other courts applying to his expert work.

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various courts under conditions that sometimes require his work to be held under
seal. Id., §§| 3-4, 9-11. And given the growth of “election denialism” in certain
quarters of political discourse, he has taken care in his publications and expert
performance to clarify, repeatedly, that he has no evidence that any vulnerabilities
he has observed were actually exploited to affect the outcome of the 2020
presidential election. Jd., 47, 10 & Ex. 2-B.

Even if OAN and every other party to the Consolidated Defamation Matters
had, or subsequently does, agreed to refrain from questioning Dr. Halderman about
matters he and his counsel consider undiscoverable under the Curling protective
orders (or orders of other litigation for which Dr. Halderman serves as an expert,
such as in Michigan in exploring and publishing an explanation of 2020 election
result reporting errors in Antrim County, Michigan), the Court should nevertheless
quash the Amended Subpoena. Dr. Halderman understandably remains deeply
concerned about facing contradictory instructions from different courts about how
and whether to respond under oath to questions about his research into certain
election systems and components — yet that is a foreseeable outcome were he
compelled to testify.

Dr. Halderman and his counsel remain skeptical that all parties in the

Consolidated Defamation Matters, all parties in Curling, and other necessary
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stakeholders* could contemporaneously police what can and cannot be discussed on
the record in a deposition. Likely proposed remediation measures meant to limit Dr.
Halderman’s risk are not satisfactory, as they rely entirely on resolution of what does
and does not fall under the Curling court’s orders. And, attempting to police what
the Curling court has and has not placed under seal during a live deposition without
the Curling court’s involvement unfairly subjects Dr. Halderman to real and tangible
risk of violating that court’s orders, on the one hand, or of refusing to comply with
contradictory orders of this Court or the U.S. District Court presiding over the
Consolidated Defamation Matters to testify in response to a particular question or
questions posed by OAN, on the other.

OAN has not agreed to submit disputes about Curling-related topics and their
confidentiality to that or any other issuing court ahead of time. Nor is it feasible,
given the number and intricacy of court orders applying to Dr. Halderman’s expert
opinion and the facts gained entirely from his expert retention in various cases, to

navigate disputes over particular questions or lines of questions in the live-fire

* Such stakeholders include Dr. Halderman’s employer and the provider of his
laboratories, the University of Michigan; the Michigan Department of the Attorney
General, which engaged Dr. Halderman in Bailey v. Antrim County, No. 2020-
009238-CZ (Antrim Cnty., Mich. Circuit Court) to investigate errors in Antrim
County’s November 2020 election night results; and parties to pending defamation
actions by Dr. Eric Coomer, formerly Director of Product Strategy and Security for
Dominion, against Michael Lindell and other parties to the Consolidated Defamation
Matters in Colorado federal court. Halderman Decl., 7 1-4.

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environment of a deposition. The burdens placed on Dr. Halderman by this attempt
to take his opinion are unreasonable, subjecting them as they do to significant legal
peril.

The Amended Notice of Deposition, accompanying Amended Subpoena, and
assertions of OAN counsel casts Dr. Halderman merely as a fact witness. But it is
apparent that OAN seeks to depose him specifically because of his knowledge of and
expertise in cybersecurity of election systems, and his retained expert performance
concerning Dominion voting systems in particular. This includes work that remains
under seal or otherwise confidential at the express direction and desire of the Curling
court. OAN could pursue, and surely has pursued, similar factual evidence from
other sources (or experts to retain) who have not performed services as a designated
expert that have remained under strict nondisclosure orders for several years now.
See Halderman Decl. f 3-4, 9-12.

Rather, OAN presumably aspires to prove that its reliance on and subjective
interpretation of Dr. Halderman’s writings render reasonable and non-defamatory its
published statements about Dominion’s voting system and personnel. Never mind
that the vast majority of Dr. Halderman’s academic research or expert work and
testimony concerning Dominion Voting Systems was made public only after the

latest of the allegedly defamatory statements appearing in Dominion’s complaint
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against OAN.° How would Dr. Halderman’s after-the-fact testimony have any
bearing on OAN’s asserted defense?° OAN has not demonstrated, and cannot
demonstrate, any substantial need for testimony from this particular witness or any
significant hardship from not being able to obtain his expertise via involuntary
deposition.

This effort strongly resembles the attempt of another defendant to defamation
claims filed by Dominion, Fox News Network. There, as here, the defendant sought
to compel Dr. Halderman to testify under oath, ostensibly only as a fact witness,
even though he was sought out because of his retention and performance as an
expert. And there, as here, Fox News sought to depose Dr. Halderman despite his
near-total lack of personal knowledge about the allegedly defamatory statements Fox
News published or about the state of mind of Fox News broadcasters, editors,
executives, and owners when publishing them. After briefing and oral argument, the
Circuit Court for the County of Washtenaw denied a motion to compel Dr.

Halderman’s testimony and granted his motion to quash the deposition subpoena.

> See Complaint, ECF No. 1, US Dominion, Inc. v. Herring Networks, Inc., No. 1:21-
cv-02131 (CJN) (Aug. 10, 2021) (Exhibit 1-D to Demorest Decl.).

® Never mind as well that Dr. Halderman once submitted a declaration as a retained
expert for the plaintiff who named OAN as a defendant in a defamation action much
like this one.
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Fox News Network, LLC v. Halderman, No. 18-000100-ZZ (Washtenaw County
Circuit Court, Apr. 4, 2023) (Exhibit 1-E to Demorest Decl.).’

Even so, Dr. Halderman went to significant lengths to locate, review, and
produce many documents in good faith attempts to respond to OAN’s subpoena
duces tecum, seeking to reach a compromise in providing OAN with information it
seeks its without subjecting Dr. Halderman to the jeopardy of a deposition described
herein. Exhibit 1-F to Demorest Decl. (OAN Subpoena Duces Tecum dated Apr. 5,
2024); Exhibit 1-G to Demorest Decl. (Corr. from A. Sparks to J. Edwards dated
May 15, 2024 conveying Halderman production).®

The Court should quash the Amended Subpoena and award Dr. Halderman
his expenses incurred for the necessity of filing this Motion. If the Court does not
quash the Amended Subpoena, however, Dr. Halderman respectfully submits that
the Court should modify it as follows:

1) to require OAN and all other parties to the Consolidated Defamation

Matters to refrain from asking any questions related to Dr. Halderman’s

work as a retained expert in other litigation matters that is restricted from
disclosure by protective orders entered in those matters;

7 The undersigned represented Dr. Halderman in Fox News Network and will provide
copies of filings in that case should the Court wish to review them.

® In Exhibit 1-F, counsel for Dr. Halderman stated, “I will look out for your next
email proposing further narrowing of time parameters and certain search terms, as
we briefly discussed on Monday.” The next communication Dr. Halderman’s
counsel received from OAN counsel was over two months later, sending the
Subpoena seeking Dr. Halderman’s deposition.

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2) to require OAN to submit any dispute over whether questions or material
falls within a protective or confidentiality order of another federal or state
court to the court(s) that issued the related order(s) for resolution;

3) to prohibit Defendant Byrne - whose case is one of the Consolidated
Defamation Matters - his agents, or any of his retained counsel (including
recently disqualified counsel Stefanie Lambert Juntilla) from attending or
obtaining any transcript of or exhibits admitted in such deposition in

perpetuity’;

4) to require OAN to reasonably compensate Dr. Halderman for his time to
prepare and testify at his prevailing expert rate of $950.00 per hour, in
addition to a significant portion of the total cost of his underlying expert
work product including, though not limited to, the expert report he filed in
Curling"; and

5) to schedule any deposition for not fewer than 21 days from the entry of the
Court’s order.

LEGAL STANDARDS

Undue Burden

A court must quash or modify a subpoena that among other forbidden effects,

“subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iv). “A decision

? See US Dominion, Inc. v. Byrne, No. 1:21-cv-02130 (CIN) (Aug. 13, 2024),
Memorandum Opinion, ECF No. 126 at 2-3 (finding “Byrne has violated the
Protective Order as set forth below, [though] the full scope of Byrne’s actions is not
yet known,” and finding his counsel of record Stefanie Lambert repeatedly and
openly violated the court’s orders, “including by disseminating protected discovery
material ... which all Parties, including Byrne himself, had agreed to keep
confidential” and granting motion to disqualify counsel) (Exhibit 1-H to Demorest
Decl.). These protective order violations have already resulted in attacks against Dr.
Halderman. See Section III.D infra.

'° Dr. Halderman’s prevailing expert rate is $950/hour. Halderman Decl., 4 5.
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whether to quash a subpoena is made on a case-by-case basis and consists of a
balancing of the interests; that is, the Court must weigh the burden of compliance
against the potential value of the information sought.” Hansen Beverage Co. v.
Innovation Ventures, LLC, No. 2:09-MC-50356, 2009 WL 1543451, at *1 (E.D.
Mich. June 2, 2009). The reasonableness of a subpoena “is assessed by balancing
‘the interests served by demanding compliance with the subpoena against the
interests served further by quashing it; this process of weighing a subpoena’s
benefits and burdens calls upon the trial court to consider whether the information is
necessary and whether it is available from any other source.’” Aslani v. Sparrow
Health Sys., No. 1:08-CV-298, 2010 WL 623673, at *4 (W.D. Mich. Feb. 18, 2010)
(quoting 9A Charles Alan Wright & Arthur R. Miller et al., FEDERAL PRACTICE AND
PROCEDURE § 2463.1 (3d ed.)). “Non-party status is also relevant in determining
whether the burden should be considered undue.” Lowe v. Vadlamudi, No. 08-10269,
2012 WL 3887177, at *2 (E.D. Mich. Sept. 7, 2012).

Unretained Expert Opinion

A court also may quash a subpoena if it requires “disclosing an unretained
expert’s opinion or information that does not describe specific occurrences in dispute
and results from the expert’s study that was not requested by a party.” Fed. R. Civ.
P. 45(d)(3)(B)(ii). This is not a new problem:

A growing problem has been the use of subpoenas to
compel the giving of evidence and information by

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unretained experts. Experts are not exempt from the duty
to give evidence, even if they cannot be compelled to
prepare themselves to give effective testimony, but
compulsion to give evidence may threaten the intellectual
property of experts denied the opportunity to bargain for
the value of their services. Arguably the compulsion to
testify can be regarded as a ‘taking’ of intellectual

property.
Fed. R. Civ. P. 45(d)(3)(B)(ii), 1991 Adv. Cmte. Note (citations omitted).'! An oft-
cited leading opinion on this subject requires the party seeking unretained expert
testimony to demonstrate that “the expert is being called because of his knowledge
of facts relevant to the case rather than in order to give opinion testimony,” is
expected to “testify[] to a previously formed or expressed opinion,” likely “is a
unique expert” such that “the calling party is able to show the unlikelihood that any
comparable witness will willingly testify,” and that the witness is not “oppressed by
having continually to testify.” Kaufman v. Edelstein, 539 F2d 811, 822 (2d. Cir
1976); see also Klabunde v. Stanley, 384 Mich. 276, 282, 181 N.W.2d 918, 921
(1970) (“By definition, an expert is one who gives opinion testimony, and not

testimony concerning relevant facts. He has a property right in his opinion and

"! According with the use of “may” in this provision, this rule is not absolute. Fed.
R. Civ. P. 45, 1991 Adv. Cmte. Note (“The rule [45(d)(3 )(B)(i1)] establishes the right
of such persons to withhold their expertise, at least unless the party seeking it makes
the kind of showing required for a conditional denial of a motion to quash as
provided in the final sentence of subparagraph (c)(3)(B); that requirement is the
same as that necessary to secure work product under Rule 26(b)(3) and gives
assurance of reasonable compensation.”) (citations omitted).

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cannot be made to divulge it in answer to a subpoena.”) (quotation and footnote

omitted).

Protective Order

A motion for a protective order is available to “a party or any person from
whom discovery is sought.” Fed. R. Civ. P. 26(c)(1). Rule 26(c)(1) permits the court
to issue a protective order to protect a party from “annoyance, embarrassment,
oppression, or undue burden or expense.” To satisfy the requirements of Rule 26(c),
the movant “must show ‘good cause’ for protection from one (or more) harms
identified in Rule 26(c)(1)(A) ‘with a particular and specific demonstration of fact,
as distinguished from stereotyped and conclusory statements.’” Jn re Ohio Execution
Protocol Litig., 845 F.3d 231, 236 (6th Cir. 2016) (quoting Serrano v. Cintas Corp.,
699 F.3d 884, 901 (6th Cir. 2012)). Unreasonable “harassment or oppression”
justifies restricting discovery, which “has limits and these limits grow more
formidable as the showing of need decreases.” Serrano, 699 F.3d at 901 (quoting 8A
Wright & Miller et al., FEDERAL PRACTICE AND PROCEDURE § 2036 (3d ed.)). Courts
have broad discretion to determine whether a protective order is appropriate and
what degree of protection is required. Seattle Times v. Rhinehart, 467 U.S. 20, 36

(1984).

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ARGUMENT AND CITATION TO AUTHORITY

A. Dr. Halderman Is A Leading Expert In Cybersecurity Of Election
Systems

Dr. Halderman is the Bredt Family Professor of Computer Science and
Engineering, Director of the Center for Computer Security and Society, and Director
of the Software Systems Laboratory at the University of Michigan in Ann Arbor,
where he has been a faculty member since 2009. Halderman Decl., § 1. His research
focuses on computer security and privacy, including an emphasis on election
cybersecurity. Id. He has served at the request of election officials of multiple states,
including Michigan, to enhance security of electronic voting systems and testified
on multiple occasions before Congressional committees on cybersecurity and U.S.
elections. Id., J] 2-3. He has been retained as an expert witness in multiple lawsuits
related to Dominion voting equipment, but not for any party in a lawsuit brought by
or against Dominion. See id., 3-4.

Since 2018, Dr. Halderman has served as a designated, retained expert for a
subset of plaintiffs in Curling, which challenges the constitutionality of Georgia’s
election system on security grounds. Jd, J 3. He was and is subject to strict
confidentiality protocols that applied to discovery of and testimony about Dominion
voting equipment in Curling, even after trial. Id., ] 9-12 & Ex. 2-C. His knowledge
of election cybersecurity issues is formidable, true, but “hardly unique” — for

instance, Dr. Halderman was one of 59 election security specialists who co-signed a

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letter in November 2020 calling claims that the Presidential election outcome had
been hacked “unsubstantiated” and “technically incoherent.” Jd., 97, n.1 & Ex. 2-B.

One may fairly wonder, given Dr. Halderman’s lack of personal knowledge
about the disinformation, wild accusations, uncut conspiracy theories, and other
allegedly defamatory statements by OAN, and his prevailing general expertise about
election cybersecurity, why OAN has subpoenaed him as a fact witness to assist in
their defamation defense. There is in fact no reference to him at all in Dominion’s
complaint and only a glancing reference in its answer and defenses — to his expert
testimony in Curling.'* To be sure, Dr. Halderman had made several public
statements concerning vulnerabilities of election technology generally, his own
concerns about misinformation and disinformation about those vulnerabilities, and
the consensus of leading election cybersecurity and administration experts regarding
policies to implement in the coming years. Those statements, such as his testimony
to the Senate Intelligence Committee in 2017, speak for themselves. And, while Dr.
Halderman has conducted additional research on Dominion voting equipment that is
not subject to a protective order, a brief comparison of the allegedly defamatory

statements to the titles of these papers (all published well after the 2020 general

2 OAN also impugns the decision of a former Dominion employee to hire Dr.
Halderman as his expert, claiming it “demonstrates [the employee’s] lack of good
judgment.” Allegations in Support of Affirmative and Other Defenses, ECF No. 59,
US Dominion, Inc. v. Herring Networks, Inc., No. 1:21-cv-02131 (CJN) (Aug. 10,
2021) at 4 50.

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election actually ended) reveals no connection beyond the identity of the party OAN
is alleged to have defamed. Compare Ex. 1-D, § 305(a)-(y) with Halderman Decl.,
Ex. 2-A.

B. OAN Cannot Force Dr. Halderman To Testify On Its Behalf
Ultimately, what OAN wants from Dr. Halderman are confidential facts, free
expert testimony, or both, all at his risk and expense. It may have neither.
1. OAN imposes undue burdens on Dr. Halderman by seeking

sensitive information from him despite his being constrained
by court orders and subject to sanction for their violation.

To the extent that Dr. Halderman has specific factual information or expert
opinion about the security of voting equipment manufactured, serviced, or
distributed by Dominion Voting Systems that is not described in publications and
public court filings, it stems from his work related to the Curling matter. Id., 4 3,
9-10. In Curling, the court authorized the plaintiffs to conduct security testing of
certain Dominion voting equipment used in Georgia, which Dr. Halderman carried
out subject to a protective order and other strict confidentiality protocols. Jd., 49, 11
& Ex. 2-C. Dr. Halderman described his discovery of several vulnerabilities at a
closed-court hearing in Curling in September 2020, with his testimony later relied
on by the Curling court in a subsequent merits order. Curling v. Raffensperger, 493
F. Supp. 3d 1264, 1277, 1279-81 (N.D. Ga. 2020). After additional research

conducted under strict confidentiality orders, Dr. Halderman submitted his expert

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report on July 1, 2021, thereafter, served and filed in Curling with an Attorneys’
Eyes Only designation (“Expert Report”). Halderman Decl., § 9. None of this
analysis was public knowledge at the time the allegedly defamatory statements were
made, the latest of which was made on June 29, 2021. Ex. 1-D, J 305(y).

Nearly two years later, a redacted version of the Expert Report was unsealed
by the Curling Court and filed publicly in June 2023. Halderman Decl., J 9; Curling,
Order, ECF No. 1680.'3 Importantly, the Expert Report was not a forensic analysis
of the 2020 presidential election. Although it describes vulnerabilities that pose
threats to the security of future elections, Dr. Halderman has no evidence and has
repeatedly said that he has no evidence that any of these vulnerabilities was actually
exploited to affect the outcome of the 2020 presidential election. E.g., Halderman
Decl., {9 7, 10 & Ex. 2-B.

To be clear, Dr. Halderman continues to uphold his professional obligations
by seeking to provide information about several vulnerabilities he discovered in

Dominion voting equipment and software to the appropriate authorities and in

'S The protocols specific to Dr. Halderman’s examination of Dominion voting
equipment and subsequent Expert Report were more extensive than the general
protective order entered by the Curling court. For the sake of clarity, other of Dr.
Halderman’s findings and testimony not directly related to the Expert Report also
remain under seal in that court or continue to bear confidentiality designations under
the general protective order, even after a four-week trial concluded in February 2024.
The Subpoena endangers Dr. Halderman by compelling him to testify about any
information or findings preserved under seal by court order, not just about matters
directly related to the now-unsealed redacted Expert Report.

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litigation in which he was retained as an expert. This is to avoid the possibility of
exploitation by nefarious actors in future elections, while at the same time adhering
to court orders regarding disclosure of his data, methods, work, and findings.'* The
presence and plausibility of exploitation of these vulnerabilities has nothing to do
with the defamatory nature (or not) of statements of fact regarding whether
Dominion actually caused or catalyzed that exploitation in a specific election.
Indeed, Dr. Halderman has long made it perfectly clear that he has no evidence of
any alteration of outcomes in connection with the 2020 presidential election. His
work as a retained expert for the Michigan Department of the Attorney General to
provide a public-record forensic analysis of the November 2020 configuration error
that led to incorrect, pre-certification results in the presidential election in Antrim

County, Michigan, has likewise made that perfectly clear.

'* As an example, see ICS Advisory No. 22-154-01, “Vulnerabilities Affecting
Dominion Voting Systems ImageCast X,” (June 3, 2022) (Exhibit 1-I to Demorest
Decl.). The Curling court expressly authorized dissemination of the Expert Report
to the federal Cybersecurity and Infrastructure Security Agency so that it could
engage in its Coordinated Vulnerability Disclosure process. See Curling, Order, ECF
No. 1315 (Feb. 11, 2022); Curling, Order, ECF No. 1453 (Aug. 11, 2022) at 3-4.

'° J. Alex Halderman, Ph.D., “Analysis of the Antrim County, Michigan November
2020 Election Incident,” (Mar. 26, 2021) at § 1.1-Summary of Findings (“These
remaining errors affect too few votes to change the outcome of any contest but the
Central Lake Village Marihuana Retailer Initiative .... The incident in Antrim
County arose due to the county’s mishandling of last-minute ballot design changes,
a circumstance that is unlikely to have occurred widely in Michigan during the 2020
election”) (footnote omitted). The peer-reviewed version of this report was

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Even so, allowing the deposition of Dr. Halderman in the Defamation Matter
places him at grave risk of violating the protective orders of the Curling court (and
others). Dr. Halderman must continue to adhere carefully to orders regarding the seal
upon his non-public testimony and confidential information related to his expert
work, as he has since he first began this phase of his Curling expert duties in
September 2020. Halderman Decl., 9§ 11-12.

Consider Dr. Halderman’s options while under oath should OAN demand
information that he knows due to his expert duties in Curling — information that one
court, citing its own prior orders, compels him not to reveal and another court, citing
its own protective order or its jurisdiction here, compels him to reveal. Dr.
Halderman would have no safe response, let alone a good one. Compelling Dr.
Halderman’s deposition under the Amended Subpoena exposes him to contradictory
orders from courts in Michigan, Georgia, Colorado, and the District of Columbia.
OAN at best has offered assurances it will avoid protected matters and accept, to
some unknown extent, the objections of counsel, which do not reasonably alleviate

this serious concern. !®

published on or about August 10, 2022 and _ =is_ available at
https://www.usenix.org/system/files/sec22-halderman.pdf.

'6 Respectfully, OAN is well aware of the protective orders placed on Dr.
Halderman’s expert work in Curling. For one, OAN attempted to intervene in the
case to obtain the Expert Report while it remained under seal. Curling, Motion to
Intervene for Limited Purposes, ECF No. 1287 (Jan. 27, 2022). That request was
first stayed during the coordinated vulnerability disclosure process, Curling, Order,

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OAN may respond that the amended protective order entered in the
Consolidated Defamation Matters sufficiently protects Dr. Halderman’s interests, or
that its own disinterest in such material resolves these issues. This fails to appreciate
with any seriousness the consequences of Dr. Halderman’s compelled testimony in
these circumstances, or how he could possibly resolve conflicting court orders
during live testimony under oath. And there are other consequences as well: despite
the recent disqualification of the counsel of record of a defendant in the Consolidated
Defamation Matters, and the record evidence showing that a defendant participated
in publishing thousands of confidential documents in violation of that same amended
protective order, among other misconduct, the amended protective order permitting
all parties and their counsel to have access to deposition transcripts, times, places,
and locations remains in place.'’ One need only review the certificate of service to

the Amended Notice of Subpoena to find OAN has informed the very same

ECF No. 1316 (Feb. 11, 2022), and then denied. Curling, Order, ECF No. 1453
(Aug. 11, 2022). For another, OAN has had copies of each protective order applying
to Dr. Halderman’s expert testimony in Curling and elsewhere provided to its
counsel. For another, counsel for Dr. Halderman provided to OAN counsel relevant
protective orders months ago. Even so, OAN has not sought permission or guidance
from the Curling court on whether it may or how to take Dr. Halderman’s deposition.
Nor have they explained to his counsel what personal knowledge Dr. Halderman
possesses (that is not gleaned from his work as a retained expert) that matters to
OAN’s defense of the underlying defamation lawsuit.

'” See also Section ID & n.22 infra.
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defendant and his counsel who was disqualified just the day before of when and
where to find Dr. Halderman giving testimony under oath. Ex. 1-B at 5-6.!8
OAN has not seriously tried to relieve Dr. Halderman of the undue burdens
imposed by its testimonial subpoenas. The Amended Subpoena must be quashed.
2. OAN seeks free expert testimony by deposing Dr. Halderman

as a purported fact witness despite his absence of personal
knowledge about facts in dispute.

The Amended Subpoena should be quashed for another reason. OAN has not
proposed or sought to engage Dr. Halderman as an expert, either before or while
seeking this deposition. And Dr. Halderman has no personal, factual knowledge that
would be relevant to any issues in the Defamation Matter, such as the probable falsity
of any of OAN’s alleged statements defaming Dominion. Compare Halderman
Decl., J] 6-11 with Ex. 1-D, § 305(a)-(y). OAN has not represented that Dr.
Halderman ever communicated with OAN, or publicly commented about the
allegedly defamatory statements Dominion claims OAN published prior to

commencement of the Defamation Matter. It is difficult to understand how his

'8 This is paramount regarding his expert work in Curling because the Georgia
Secretary of State elected not to implement until after the 2024 general election
certain EAC-certified technological updates developed by Dominion, purportedly in
response to vulnerabilities described in Dr. Halderman’s expert report and the 2022
ICS Advisory (Exhibit 1-D) published by the federal Cybersecurity and Infrastructure
Security Agency. This poses material security concerns difficult to anticipate and
mitigate ahead of time were Dr. Halderman’s testimony made public or disseminated
in a form susceptible to disinformation or even to good-faith misinterpretation.

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testimony is relevant to this litigation, let alone proportional to the needs of the case

under Rule 26.

i. Dr. Halderman does not have specific factual knowledge
to offer about the matters in dispute.

Presumably, OAN is looking for anything to show that whether software
algorithms or malicious actors manipulated 2020 presidential election vote counts is
unknowable, and therefore that it has not necessarily published false information
with actual malice. But, Dr. Halderman’s initial findings from examining Dominion
voting equipment and his subsequent testimony at the September 2020 Curling
hearing were taken under seal and in closed court, respectively. It follows that both
his expert performance and his personal knowledge could say nothing about OAN’s
knowledge, probable knowledge, or state of mind at the time any allegedly
defamatory statements challenged by Dominion in the Defamation Matter were
made. All such statements were allegedly made before the service of the Expert
Report on an Attorneys’ Eyes Only basis on July 1, 2021, its filing under seal shortly
thereafter, and the unsealing of a redacted version nearly two years later.

“The relevant inquiry is whether the testimony sought concerns information
that was obtained directly through the observations of the witness rather than
information that the witness came to learn from his or her own study.” In re Schaefer,
331 F.R.D. 603, 609 (W.D. Pa. 2019). Dr. Halderman is unaware of any personal

knowledge he has of whether OAN purposefully or recklessly published false
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statements of fact with actual malice, without privilege, and with damage to the
plaintiffs in the Defamation Matter. As a legal matter, Dr. Halderman’s testimony
would bear no relevance to OAN’s defenses to Dominion’s defamation claim.
Builders Ass ’n of Greater Chicago v. City of Chicago, 2001 WL 664453, *7-8 (N.D.
Ill. June 12, 2001) (“courts have held that non-parties may raise relevancy objections
to subpoenas’).

If OAN really is content to ask Dr. Halderman about his personal knowledge
relevant to the Defamation Matter that does not relate to his expert performance and
knowledge gained thereby, let alone to his sealed expert testimony in Curling, then
there is nothing to ask him about that they could not obtain from other authors of
research publications or from leading experts who are not bound by multiple
overlapping protective orders. Dozens of those experts signed the November 2020
letter explaining that while there are security weaknesses in U.S. voting systems,
there was no evidence supporting a claim that anyone actually exploited those
weaknesses to manipulate the results of the 2020 presidential election. Halderman
Decl., § 7 n.1 & Ex. 2-B.

And plenty is available in the public record for interpretation by any election
security expert they can retain. For example, Dr. Halderman’s expert analysis
concerning the Antrim County incident is public record, secured at the expense of

the State of Michigan. See footnote 15 supra. Dr. Halderman has provided to OAN,

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at his own time and expense, an extensive record of his public studies and testimony
which OAN claims matters to its defense against Dominion’s defamation action,
including a demonstrative prepared for and presented at the Curling trial and a new
study published just weeks ago. And he is hardly the only researcher in this field.
Put simply, there is no compelling need for Dr. Halderman specifically to
provide a deposition for OAN’s purpose in the Defamation Matter.
ii. OAN cannot coerce Dr. Halderman to testify as its expert.
If, on the other hand, OAN is interested in knowledge relating to Dr.
Halderman’s performance as a retained expert in other litigation such as Curling, or
in his academic expertise, then OAN just wants a free lunch. Expert testimony is
opinion testimony based on a qualified expert’s knowledge, skill, experience,
training, or education applied to facts or data. Fed. R. Evid. 702. This is what Dr.
Halderman has provided and what OAN seeks for its own devices. And OAN cannot
simply force him to testify as an expert, let alone their expert. See Fed. R. Civ. P.
45(d)(3)(B)-(C) & 1991 Adv. Cmte. Notes (“The rule establishes the right of such
persons to withhold their expertise, at least unless the party seeking it makes the kind
of showing required, ... [which] is the same as that necessary to secure work product
under Rule 26(b)(3) and gives assurance of reasonable compensation.”) (citing
Wright v. Jeep Corp., 547 F. Supp. 871 (E.D. Mich. 1982)); In re Arkansas Safe

Foods Patent Infringement Litig., 2022 WL 18110012, *2—*4 (M.D. Ala. 2022)

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(finding subpoena of unretained expert witness to testify to meaning of prior
declarations in public record must be quashed for imposing undue burden and should
be quashed as seeking compelled testimony of unretained expert), report and
recommendation adopted, 2023 WL 98370, *1 (M.D. Ala. 2023).!?

Even courts that have permitted compelled expert testimony require a
stringent showing of substantial need, undue hardship, or unique factual knowledge
possessed by the desired unretained expert in advance. See Fed. R. Civ. P.
45(d)(3)(C)G) (requiring showing by subpoenaing party of substantial need that
cannot otherwise be met without undue hardship; Lewis v. DexCom, Inc., 2022 WL

114076, *1—*4 (W.D. Pa. 2022) (quashing third-party deposition subpoena served

'9 This accords with the conclusion of courts nationwide. See, e.g., Klabunde v.
Stanley, 384 Mich. 276, 282, 181 N.W.2d 918, 921 (1970) (“By definition, an expert
is one who gives opinion testimony, and not testimony concerning relevant facts. He
has a property right in his opinion and cannot be made to divulge it in answer to a
subpoena.”) (quotation and footnote omitted); Doering v. Koppelberger, No.
343196, 2019 WL 4732725, at *2 (Mich. Ct. App. Sept. 26, 2019) (distinguishing
between witnesses “called solely as experts” and witnesses who “have first-hand
knowledge of facts relevant to the litigation”; “It is a longstanding principle that
expert witnesses have a property interest in their opinions and cannot be compelled
to testify.”); Owens v Silvia, 838 A.2d 881, 901-02 (RI 2003) (“Absent extraordinary
circumstances ... a non-party expert cannot be compelled to give opinion testimony
against his or her will.”); Com. v. Vitello, 367 Mass. 224, 235, 327 N.E.2d 819 (1975)
(“we have ruled that a party may not by summons compel the involuntary testimony
of an expert witness solely for the expertise he may bring to the trial, and in the
absence of any personal knowledge on his part related to the issues before the judge
and the jury”); People ex rel. Kraushaar Bros. & Co. v Thorpe, 72 N.E.2d 165, 166
(N.Y. 1947) (real estate expert could be compelled to give testimony as to what he
had seen on the premises in question but could not be compelled to testify as to his
expert opinion).

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on witness who served as expert on issue in other litigation, but was not retained or
identified as expert in instant litigation, and no showing of “exceptional need for his
deposition” specifically made); cf Laborers Pension Tr. Fund-Detroit & Vicinity v.
CRS Poured Concrete Walls, Inc., No. 04CV74714 DT, 2006 WL 3804912, at *5
(E.D. Mich. Dec. 22, 2006) (denying motion to compel even where movant was
willing to classify information demanded as attorneys’ eyes only because harm that
would result to respondent by testifying was not outweighed by attempt to show
substantial need) (Fed. R. Civ. P. 45(d)(3)(B)(i)).”°

And Fed. R. Civ. P. 45(d)(3)(C)(Gii) further requires in such circumstances
“that the subpoenaed person will be reasonably compensated.” As the 1991
amendment notes to Rule 45 made clear, this rule “was intended to provide
appropriate protection for the intellectual property of [a] non-party witness.” Where
a subpoena “effectively requires a non-party to act as an unpaid expert witness in

support of defendants’ defense,” then, “this is an abuse of the subpoena power.”

0 See also Carney-Hayes v. Nw. Wisconsin Home Care, Inc., 699 N.W.2d 524, 534
(Wis. 2005) (“[A]bsent a showing of compelling circumstances by the party seeking
the testimony, a witness cannot be compelled to testify as an expert. ... To compel
an expert to testify involuntarily, a party must not only show a compelling need for
the testimony but also present a plan of reasonable compensation.”); Imposition of
Sanctions in Alt v. Cline, 589 N.W.2d 21, 27 (Wis. 1999) (“A person who has
expended resources to attain specialized knowledge should not be forced to part with
that knowledge upon demand ... [as] there can be a number of people within a field
with similar specialized knowledge capable of rendering an expert opinion on the
question or questions asked. In such instance, the opinion of one particular expert is
not irreplaceable.”)); Mason v. Robinson, 340 NW2d 236, 242 (lowa 1983).

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Convolve, Inc. v. Dell, Inc., No. C 10-80071 WHA, 2011 WL 1766486, at *2 (N.D.
Cal. May 9, 2011) (cleaned up).”!

There is no substantial need to force Dr. Halderman to testify, nor any undue
hardship that would result to OAN should it not be permitted to depose Dr.
Halderman specifically, but rather to retain its own expert in the ordinary course as
so many litigants do. Fed. R. Civ. P. 45(d)(3)(C)(G); Hansen Beverage, 2009 WL
1543451, at *1-2 (granting motion to quash where information sought not
“reasonably calculated to lead to the discovery of admissible evidence to a degree
that would justify the burden imposed upon” respondent, as “the parties themselves
may employ experts on the subject’) (citing Fed. R. Civ. P. 26(b)(1)); In re Schaefer,
331 F.R.D. at 610 (granting motion to quash testimonial subpoena where
subpoenaing party sought “testimony as to how” expert “employed her specialized
knowledge, skill, experience, training, or education to arrive at, what was in her

opinion, an accurate analysis of the data in the study” underlying her expert report,

1 Importantly, reasonable compensation for an unretained expert compelled to
testify may include “not only a professional fee and the cost of supplying the
documents and remuneration for the inconvenience, but also could include in the
appropriate case a charge for a portion of the expenses of the original research.”
Wright v. Jeep Corp., 547 F. Supp. 871, 877 (E.D. Mich. 1982) (emphasis added);
accord In re NCAA Student-Athlete Name & Likeness Licensing Litig., 2012 WL
4856968, at *4 (E.D. Mo. Oct. 12, 2012); Fed. R. Civ. P. 45(d)(3)(B)«i),
(d)(3)(C)Gi). Here, that would include Dr. Halderman’s Curling Expert Report, the
product of many hours of previously compensated expert work often performed
under compressed time constraints, and largely during a pandemic, no less.

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which was used to support policy decisions which were the facts “central to the
underlying cases, and there is no showing that Dr. Schaefer has personal knowledge
of those facts, and therefore could testify about them”).

OAN cannot abscond with Dr. Halderman’s expertise simply by handing him
or his counsel a non-party deposition subpoena under the guise of Rule 45 after his
cooperation in good faith with prior documents subpoenas. As noted above, it is a
longstanding proposition that the party seeking unretained expert testimony must
demonstrate that “the expert is being called because of his knowledge of facts
relevant to the case rather than in order to give opinion testimony,” is expected to
“testify[] to a previously formed or expressed opinion,” likely “is a unique expert”
such that “the calling party is able to show the unlikelihood that any comparable
witness will willingly testify,” and that the witness is not “oppressed by having
continually to testify.” Kaufman, 539 F.2d at 822. This OAN has not done and cannot
do. Even if it could, it is inequitable and contrary to law to compel a nonparty and
retained expert in a foreign case to sit for testimony ostensibly about his personal
factual knowledge, but where the only material situations about which the nonparty
might have factual knowledge was gained in the course of his expert performance.
This state of affairs is only worsened given that the disclosure of that expert-
produced factual knowledge would potentially cause the nonparty to violate one or

more court orders on pain of contempt.

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So. OAN is trying to use a Rule 45 subpoena to secure one or both of two
things: 1) the factual knowledge he gained from his performance as an expert,
regardless of its confidentiality or its cost to Dr. Halderman or the litigants who
actually retained him, and regardless of the availability of similar factual knowledge
from other researchers or from agents of its opposing party in the Defamation Matter;
or 2) Dr. Halderman’s expert opinion — to which it is not entitled, having not even
tried to retain him — in their favor for free in the guise of a fact deposition. Whichever
OAN is chasing, they have shown no proper or substantial need for Dr. Halderman’s
testimony and no nexus of his scholarship or expert performance with matters at
issue in the underlying defamation matter here. The Court should quash the

Amended Subpoena.

C. The Court Should Award Dr. Halderman His Expenses Of Litigation
Under Rule 45

Fed. R. Civ. P. 45(d)(1) requires

[a] party or attorney responsible for issuing and serving a
subpoena [to] take reasonable steps to avoid imposing
undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is
required must enforce this duty and impose an appropriate
sanction—which may include lost earnings and reasonable
attorney’s fees—on a party or attorney who fails to
comply.

Causing a non-party to incur litigation expense by filing a motion to quash, after the

non-party explained the reasonable basis for withdrawing the subpoena before the

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approaching compliance date compelled the filing of the motion, falls well within
this provision. Dr. Halderman has engaged in good faith for months with OAN’s
subpoenas (and not just in the Defamation Matter), requiring substantial investments
of his attention and time and assistance of counsel. At this point, given OAN’s
refusal to abandon the unlawful Amended Subpoena, Dr. Halderman is entitled to
his reasonable attorney’s fees and other expenses of litigation in connection with
filing this Motion. E.g., Muslim Cmty. Ass’n of Ann Arbor v. Pittsfield Twp., No. CV
12-10803, 2015 WL 5132583, at *2 (E.D. Mich. Apr. 24, 2015) (concluding “that a
reasonable person would have recognized ... serving the subpoenas and then
opposing [non-party respondent’s] motion to quash and for protective order ... were
not substantially justified” and permitting submission of fee petition) (cleaned up)
(citing Night Hawk Ltd. v. Briarpatch Ltd., L.P., 2003 WL 23018833, at *9
(S.D.N.Y. Dec. 23, 2003) (“Sanctions are properly imposed and attorney’s fees are
awarded where, as here, the party improperly issuing the subpoena refused to
withdraw it, requiring the non-party to issue a motion to quash.”)).

D. If The Court Does Not Quash The Amended Subpoena, The Court

Should Modify It To Limit Its Scope And Compensate Dr. Halderman
For All Time Spent On These Matters

If (and only if) the Court does not quash the Amended Subpoena, Dr.
Halderman respectfully requests that the Court modify the Amended Subpoena in at

least five significant ways (or issue a protective order requiring equivalent relief).

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First, the Court should order all parties involved in the deposition to refrain
from asking any questions to Dr. Halderman, or introducing any exhibits, concerning
his work related to the Curling litigation. As discussed supra, enforcing a line
regarding what information, methods, data, and other material under seal is too
complex to police in the confines of a live deposition, and exposes Dr. Halderman
to unacceptable risk of sanction.

Second, the Court should order OAN to resolve any disputes or objections
about Dr. Halderman’s responsiveness related to his concerns about violating any of
the protective or confidentiality orders before the court(s) that issued the applicable
order(s). For example, disputes or objections related to one or more of the Curling
orders should be ordered submitted to the Curling court for resolution. That federal
district court for the Northern District of Georgia — where OAN has already appeared
— is the proper arbiter of the meaning and scope of its orders. Should OAN wish to
approach the Curling court, the Michigan court, or the Colorado courts ahead of time
so that the parties and counsel to that litigation may comment and the court may
resolve those issues ahead of any ordered deposition the Court finds appropriate, Dr.
Halderman would have far better opportunity to obey the orders of these courts in
this regard as he must and as he desires to do.

Third, the Court should bar Patrick Byrne, his agents, or any of his retained

counsel, and in particular Stefanie Lambert Juntilla, from attending Dr. Halderman’s

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deposition or obtaining any transcript or exhibits resulting from the deposition. The
District of Columbia court presiding over the Consolidated Defamation Matters has
already found Byrne and Lambert’s misconduct to present “the rare case in which
disqualification is warranted” for repeated disobedience of court protective orders
despite verbal and written assurances to that court of their compliance.”” That has
already led to the abuse of a deponent in the Consolidated Defamation Matters.”
And, indeed, Dr. Halderman himself faced attacks from members of the

disinformation community immediately following Lambert and Byrne’s misconduct

2 For the avoidance of doubt, the 62-page Memorandum Opinion describes in detail
the amended protective order in the Consolidated Defamation Matters; recounts in
detail and with primary sources the repeated dissemination, publication, public
characterization, and implausible denial of wrongdoing of both defendant Byrne and
his now-disqualified counsel; and analyzed at length the deleterious impact of their
misconduct on the litigation, the parties, and the discovery and judicial processes.
Among the examples of primary sources was Lambert’s July “attempt[] to disclose
deposition testimony ... in response to a request from a Michigan State
Representative” by “an email from an individual legislator” after “the Court
expressly warned at the May hearing” that a request just like this one still falls within
the orders of the court concerning protection of confidential information. Mem. Op.,
Ex. 1-G at 22. Other of defendant Byrne’s counsel are also involved in violations of
court orders to publish or obtain protected information. /d. at 23-24.

°3 Marshall Cohen, “Scarred by 2020 smears, voting companies and election officials
brace for November,” CNN.COM (Aug. 27, 2024) (“In June, one of Byrne’s self-
proclaimed ‘operatives’ unexpectedly showed up at the building where Poulos, the
Dominion CEO, was being deposed, according to court filings. The operative filmed
their encounter, which Byrne quickly posted online, leading to more vitriol from his
fans.”), available at https://www.cnn.com/2024/08/27/politics/voting-companies-
election-officials-brace-for-november/index.html) (last visited Sept. 8, 2024).

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in leaking protected documents in March.™* There is every reason to think Dr.
Halderman further places himself at risk should Byrne or his representatives have
any connection to his deposition in this matter, as the amended protective order
permits him to be.

Fourth, the Court should order OAN to compensate Dr. Halderman for 1) time
and expenses reasonably spent responding to OAN’s subpoenas, including this
Motion and prior attempts to confer; 2) time spent preparing and sitting for a
deposition at his prevailing expert rate, $950/hour (Halderman Decl., J 5); and 3) a
portion of the expense of producing expert reports in other litigation about which
Defendants which to depose Dr. Halderman. Dr. Halderman and his counsel will
submit such materials for the Court’s review and incorporation into an order if so
desired.

Finally, Dr. Halderman requests at least 21 days from the entry of any order
compelling his testimony before testifying so that he may adequately prepare with

his counsel, and so other interested parties or stakeholders, see footnote 4 supra, may

*4 See, e.g, Affidavit of Sheriff Dar Leaf, Mar. 8, 2024 (referring to documents
provided by Stefanie Lambert as supporting his ’ongoing investigation” into Dr.
Halderman based on his “incorrect” assertions as “expert witness” for the Michigan
Department of State regarding Antrim County), available at
https://tinyurl.com/ynhrzjpd (last visited Sept. 8, 2024); @KevinMoncla, X.com
(Mar. 9, 2024, 10:11 AM) (citing leaked documents to attack Dr. Halderman’s
professional reputation), https://x.com/KevinMoncla/status/176648 1820923928817
(last visited Sept. 8, 2024).

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discuss their participation or observation of the deposition with the Defamation
Matter parties, with those counsel and parties in actions consolidated with it for

discovery purposes, and with Dr. Halderman and his counsel.

CONCLUSION

For the foregoing reasons, Dr. Halderman respectfully requests that the Court
quash OAN’s Amended Subpoena, or in the alternative only, modify it as specified
herein or issue a protective order providing the relief requested herein.

Respectfully Submitted,
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CERTIFICATE OF SERVICE

I hereby certify that I have on this date caused to be electronically filed a copy
of the foregoing document with the Clerk of Court using the CM/ECF system, which
will automatically send e-mail notification of such filing to counsel of record, and
further that, pursuant to Fed. R. Civ. P. 5(b), I have on this date caused to be served
a copy of the foregoing document by U.S. first-class mail to counsel of record for
Defendants, John K. Edwards, Esq., Jackson Walker L.L.P., 1401 McKinney Suite
1900, Houston, TX 77010. I further certify that I have on this date caused to be
served a copy of the foregoing document by email (unless otherwise specified) to
the following:

See Appendix

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Primerus/Alex Halderman (1593)/1 Draft Pleadings/2024 09 09 Brief in Support (Halderman Motion to Quash Subpoena).docx

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